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UNITED STATES DISTRICT COURT -, Or 23 Puy
WESTERN DISTRICT OF TEXAS “:).. ta hy
AUSTIN DIVISION Ty Ber a
CR
ERIC MACALPINE; ANDREW Pr.
GREMMO; and BRIAN HICKERSON,
individually and on behalf of all others
similarly situated, Civil Action No, 1:24-cv-933
Plaintiffs,
v. CLASS ACTION
DEMAND FOR JURY TRIAL
ONNIT LABS, INC.,
Defendant.

SECOND AMENDED CLASS ACTION COMPLAINT!

DELIVERED

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ByyrEF 2330}
Austin Process, LLC

' This Second Amended Class Action Complaint is filed with Defendant’s written consent, reached
through email correspondence with Defendant’s counsel on October 23, 2024, and is therefore proper

under Federal Rule of Civil Procedure 15(a)(2).
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INTRODUCTION

Eric MacAlpine (“Plaintiff MacAlpine”), Andrew Gremmo (“Plaintiff
Gremmo”), and Brian Hickerson (“Plaintiff Hickerson”) (collectively, “Plaintiffs”),
individually and on behalf of all others similarly situated, make the following
allegations pursuant to the investigation of counsel and based upon information and
belief, except as to allegations pertaining specifically to themselves or their counsel,
which are based on personal knowledge.

NATURE OF THE CASE

1. Plaintiffs bring this action to redress Defendant Onnit Labs, Inc.,’s
(“Onnit”) practices of knowingly disclosing Plaintiffs’ and its other customers’
identities and the titles of the prerecorded video materials that they purchased to Meta
Platforms, Inc. (“Meta”), formerly known as Facebook, Inc. (“Facebook”), in violation
of the federal Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710.

2. Over the past two years, Defendant has systematically transmitted (and
continues to transmit today) its customers’ personally identifying video viewing
information to Meta using a snippet of programming code called the “Meta Pixel,”
which Defendant chose to install and configure on its www.onnit.com website (the

“Website”),

3. The information Defendant disclosed (and continues to disclose) to

Meta via the Meta Pixel includes the customer’s Facebook ID (“FID”) and the title of

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the specific prerecorded video material that each of its customers purchased on its

Website.

4. An FID is a unique sequence of numbers linked to a specific Meta
profile. A Meta profile, in turn, identifies by name the specific person to whom the
profile belongs (and also contains other personally identifying information about the
person), Entering “Facebook.com/|FID]” into a web browser allows anyone,
including Meta, to view the Meta profile of the person to whom the FID corresponds.
Thus, the FID identifies a person more precisely than a name, as numerous persons
may share the same name, but each person’s Facebook profile (and associated FID)
uniquely identifies one and only one person. In the simplest terms, the Meta Pixel
installed by Defendant captures and discloses to Meta information that reveals the
specific videos that a particular person purchased on Defendant’s Website
(hereinafter, “Private Viewing Information”).

5. Defendant disclosed and continues to disclose its customers’ Private
Viewing Information to Meta without asking for or obtaining their consent to these
practices.

6. The VPPA clearly prohibits what Defendant has done. Subsection
(b)(1) of the VPPA provides that, absent the consumer’s prior informed, written
consent, any “video tape service provider who knowingly discloses, to any person,

personally identifiable information concerning any consumer of such provider shall

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be liable to the aggrieved person for,” 18 U.S.C. § 2710(b)(1), damages in the
amount of $2,500.00, see id. § 2710(c).

7. Accordingly, on behalf of themselves and the putative Class members
defined below, Plaintiffs bring this Class Action Complaint against Defendant for

intentionally and unlawfully disclosing their Personal Viewing Information to Meta.

PARTIES
I. Plaintiff MacAlpine

8. Plaintiff MacA Ipine is, and at all times relevant hereto was, a citizen and
resident of Plymouth, Massachusetts in Plymouth County.

9. Plaintiff MacAlpine has used and continues to use the same device to
maintain and access his active Facebook account throughout the relevant period in this
case,

10. On or about November 13, 2023, Plaintiff MacAlpine purchased
prerecorded video material from Defendant by requesting and paying for such material

on Defendant’s Website, www.onnit.com, and by providing his name, email address,

and home address for shipment of such material. Accordingly, Plaintiff MacAlpine
requested or obtained, and is therefore a consumer of, prerecorded video material sold
by Defendant on its Website.

11. At all times relevant hereto, including when purchasing prerecorded
video material from Defendant on its Website, Plaintiff MacAlpine had a Meta

account, a Meta profile, and an FID associated with such profile.

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12. When Plaintiff MacAlpine purchased prerecorded video material from
Defendant on its Website, Defendant disclosed to Meta Plaintiff MacAlpine’s FID
coupled with the specific title of the video he purchased (as well as the URL where
such video is available for purchase), among other information about Plaintiff
MacAlpine and the device on which he used to make the purchase.

13. Plaintiff MacAlpine has never consented, agreed, authorized, or
otherwise permitted Defendant to disclose his Private Viewing Information to Meta.
In fact, Defendant has never even provided Plaintiff MacA Ipine with written notice of
its practices of disclosing its customers’ Private Viewing Information to third parties
such as Meta.

14. Because Defendant disclosed Plaintiff MacAlpine’s Private Viewing
Information (including his FID, the title of the prerecorded video material he
purchased from Defendant’s Website, and the URL where such video is available for
purchase) to Meta during the applicable statutory period, Defendant violated Plaintiff
MacAlpine’s rights under the VPPA and invaded his statutorily conferred interest in
keeping such information (which bears on his personal affairs and concerns) private.

Il. Plaintiff Gremmo
15. Plaintiff Gremmo is a citizen and resident of Spring City, Pennsylvania

in Chester County.

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16. Plaintiff Gremmo has used and continues to use the same device to
maintain and access an active Facebook account throughout the relevant period in this
case,

17. On or about May 14, 2023, Plaintiff Gremmo purchased prerecorded
video material from Defendant by requesting and paying for such material on

Defendant’s Website, www.onnit.com, and by providing his name, email address, and
?

home address for shipment of such material. Accordingly, Plaintiff Gremmo requested
or obtained, and is therefore a consumer of, prerecorded video material sold by
Defendant on its Website.

18. At all times relevant hereto, including when purchasing prerecorded
video material from Defendant on its Website, Plaintiff Gremmo had a Meta account,
a Meta profile, and an FID associated with such profile.

19. When Plaintiff Gremmo purchased prerecorded video material from
Defendant on its Website, Defendant disclosed to Meta Plaintiff Gremmo’s FID
coupled with the specific title of the video he purchased (as well as the URL where
such video is available for purchase), among other information concerning Plaintiff
Gremmo and the device on which he used to make the purchase.

20. Plaintiff Gremmo has never consented, agreed, authorized, or otherwise
permitted Defendant to disclose his Private Viewing Information to Meta. In fact,
Defendant has never even provided Plaintiff Gremmo with written notice of its

practices of disclosing its customers’ Private Viewing Information to third parties such

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as Meta.

21. Because Defendant disclosed Plaintiff Gremmo’s Private Viewing
Information (including his FID, the title of the prerecorded video material he
purchased from Defendant’s Website, and the URL where such video is available for
purchase) to Meta during the applicable statutory period, Defendant violated Plaintiff
Gremmo’s rights under the VPPA and invaded his statutorily conferred interest in
keeping such information (which bears on his personal affairs and concerns) private.

II}. Plaintiff Hickerson

22. Plaintiff Hickerson is a citizen and resident of Golden Valley, Arizona
in Mohave County.

23. Plaintiff Hickerson has used and continues to use the same device to
maintain and access an active Facebook account throughout the relevant period in this
case.

24. On or about February 15, 2023, Plaintiff Hickerson purchased
prerecorded video material from Defendant by requesting and paying for such material

on Defendant’s Website, www.onnit.com, and by providing his name, email address,

and home address for shipment of such material. Accordingly, Plaintiff Hickerson
requested or obtained, and is therefore a consumer of, prerecorded video material sold

by Defendant on its Website.

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25. At all times relevant hereto, including when purchasing prerecorded
video material from Defendant on its Website, Plaintiff Hickerson had a Meta
account, a Meta profile, and an FID associated with such profile,

26. Plaintiff Hickerson’s Facebook account was set to public status when he
purchased the prerecorded video materials from Defendant’s Website.

27. When Plaintiff Hickerson purchased prerecorded video material from
Defendant on its Website, Defendant disclosed to Meta Plaintiff Hickerson’s FID
coupled with the specific title of the video he purchased (as well as the URL where
such video is available for purchase), among other information concerning Plaintiff
Hickerson and the device on which he used to make the purchase.

28, Plaintiff Hickerson has never consented, agreed, authorized, or otherwise
permitted Defendant to disclose his Private Viewing Information to Meta. In fact,
Defendant has never even provided Plaintiff Hickerson with written notice of its
practices of disclosing its customers’ Private Viewing Information to third parties such
as Meta.

29. Because Defendant disclosed Plaintiff Hickerson’s Private Viewing
Information (including his FID, the title of the prerecorded video material he
purchased from Defendant’s Website, and the URL where such video is available for
purchase) to Meta during the applicable statutory period, Defendant violated Plaintiff
Hickerson’s rights under the VPPA and invaded his statutorily conferred interest in

keeping such information (which bears on his personal affairs and concerns) private.

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IV. Defendant Onnit Labs, Inc.

30. Defendant is a Delaware corporation that maintains its headquarters and
principal place of business at 4401 Freidrich Lane, Suite 302, Austin, Texas 78744-
1852. Defendant operates and maintains the Website www.onnit.com, where it sells
various types of pre-recorded videos.

JURISDICTION AND VENUE

31. The Court has subject-matter jurisdiction over this civil action pursuant
to 28 U.S.C. § 1331 and 18 U.S.C. § 2710.

32. Personal jurisdiction and venue are proper because Defendant maintains
its headquarters and principal place of business in Austin, Texas, within this judicial
District.

VIDEO PRIVACY PROTECTION ACT

33. The VPPA prohibits companies (like Defendant) from knowingly
disclosing to third parties (like Meta) information that personally identifies consumers
(like Plaintiffs) as having viewed particular videos or other audio-visual materials.

34. Specifically, subject to certain exceptions that do not apply here, the
VPPA prohibits “a video tape service provider” from “knowingly disclos[ing], to any
person, personally identifiable information concerning any consumer of such
provider[.J” 18 U.S.C. § 2710(b)(1). The statute defines a “video tape service
provider” as “any person, engaged in the business . . . of rental, sale, or delivery of

prerecorded video cassette tapes or similar audio visual materials,” 18 U.S.C. §

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2710(a}(4). It defines a “consumer” as “a renter, purchaser, or subscriber of goods or
services from a video tape service provider.” 18 U.S.C. § 2710(a)(1). “‘[P]ersonally
identifiable information’ includes information which identifies a person as having
requested or obtained specific video materials or services from a video tape service
provider.” 18 U.S.C. § 2710(a)(3).

35. Leading up to the VPPA’s enactment in 1988, members of the United
States Senate warned that “[e]very day Americans are forced to provide to businesses
and others personal information without having any control over where that
information goes.” /d. Senators at the time were particularly troubled by disclosures
of records that reveal consumers’ purchases and rentals of videos and other
audiovisual materials because such records offer “a window into our loves, likes, and
dislikes,” such that “the trail of information generated by every transaction that is now
recorded and stored in sophisticated record-keeping systems is a new, more subtle and
pervasive form of surveillance.” S. Rep. No. 100-599 at 7-8 (1988) (statements of

Sens. Simon and Leahy, respectively).

36. Thus, in proposing the Video and Library Privacy Protection Act (which
later became the VPPA), Senator Patrick J. Leahy (the senior Senator from Vermont
from 1975 to 2023) sought to codify, as a matter of law, that “our right to privacy
protects the choice of movies that we watch with our family in our own homes,” 134
Cong. Rec. $5399 (May 10, 1988). As Senator Leahy explained at the time, the

personal nature of such information, and the need to protect it from disclosure, is the
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raison d’étre of the statute: “These activities are at the core of any definition of
personhood. They reveal our likes and dislikes, our interests and our whims. They say
a great deal about our dreams and ambitions, our fears and our hopes. They reflect our
individuality, and they describe us as people.” /d.

37. While these statements rang true in 1988 when the act was passed, the
importance of legislation like the VPPA in the modern era of data mining is more
pronounced than ever before. During a more recent Senate Judiciary Committee
meeting, “The Video Privacy Protection Act: Protecting Viewer Privacy in the 21*
Century,” Senator Leahy emphasized the point by stating: “While it is true that
technology has changed over the years, we must stay faithful to our fundamental right
to privacy and freedom. Today, social networking, video streaming, the ‘cloud,’ mobile
apps and other new technologies have revolutionized the availability of Americans’
information.”

38. Former Senator Al Franken may have said it best: “If someone wants to

share what they watch, I want them to be able to do so... But I want to make sure

2 The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, Senate Judiciary
Committee Subcommittee on Privacy, Technology and the Law, http://www. judiciary.
senate. gov/meetings/the-video-privacy-protection-act-protecting-viewer-privacy-in-the-
2Istcentury.

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that consumers have the right to easily control who finds out what they watch—and
who doesn’t. The Video Privacy Protection Act guarantees them that right.”

39, In this case, however, Defendant deprived Plaintiffs and numerous
other similarly situated persons of that right by systematically (and surreptitiously )
disclosing their Private Viewing Information to Meta, without providing notice to (let
alone obtaining consent from) any of them, as explained in detail below.

BACKGROUND FACTS

IL Consumers’ Personal Information Has Real Market Value
40. In 2001, Federal Trade Commission (“FTC”) Commissioner Orson
Swindle remarked that “the digital revolution .. . has given an enormous capacity to
the acts of collecting and transmitting and flowing of information, unlike anything
we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

defined by the existing data on themselves.”

3 Chairman Franken Holds Hearing on Updated Video Privacy Law for 21% Century,
franken.senate, gov (Jan. 31, 2012),

4 Transcript, The Information Marketplace (Mar. 13, 2001), at 8-11, available at
https:/Awww. ftc.gov/sites/defaultfiles/documents/public_events/information-marketplace-merging-and-
exchanging-consumer-data/transcript.pdf.

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41. Over two decades later, Commissioner Swindle’s comments ring truer
than ever, as consumer data feeds an information marketplace that supports a 26 billion
dollar per year online advertising industry in the United States.°

42. The FTC has also recognized that consumer data possesses inherent

monetary value within the new information marketplace and publicly stated that:

Most consumers cannot begin to comprehend the types and amount of

information collected by businesses, or why their information may be

commercially valuable. Data is currency. The larger the data set, the

greater potential for analysis — and profit.°

43. In fact, an entire industry exists while companies known as data
aggregators purchase, trade, and collect massive databases of information about
consumers. Data aggregators then profit by selling this “extraordinarily intrusive”
information in an open and largely unregulated market.’

44. The scope of data aggregators’ knowledge about consumers is immense:

“If you are an American adult, the odds are that [they] know{] things like your age,

5 See Julia Angwin and Emily Steel, Web’s Hot New Commodity. Privacy, Wall Street Journal
(Feb. 28, 2011), available at
https:/Avww.wsj.com/articles/SB 100014240527487035290045 76 160764037920274.

6 Statement of FTC Cmr. Harbour (Dec. 7, 2009), at 2, available at
https:/Awww. fic.gov/sites/default/files/documents/public_statements/remarks-fic-exploring-privacy-
roundtable/09 1207 privacyroundtable.pdf

7 See M. White, Big Data Knows What You're Doing Right Now, TIME.com (July 31, 2012), available
at http://moneyland.time.com/2012/07/3 1 /big-data-knows-what-youre-doing-right-now/ .

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race, sex, weight, height, marital status, education level, politics, buying habits,
household health worries, vacation dreams—and on and on.”

45, Further, “[a]s use of the Internet has grown, the data broker industry has
already evolved to take advantage of the increasingly specific pieces of information
about consumers that are now available.”

46, Recognizing the severe threat the data mining industry poses to
consumers’ privacy, on July 25, 2012, the co-chairmen of the Congressional Bi-
Partisan Privacy Caucus sent a letter to nine major data brokerage companies seeking
information on how those companies collect, store, and sell their massive collections
of consumer data, stating in pertinent part:

By combining data from numerous offline and online sources,
data brokers have developed hidden dossiers on every U.S.
consumer. This large[-]scale aggregation of the personal

information of hundreds of millions of American citizens raises a
number of serious privacy concerns."

°N. Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times (June 16, 2012),
available at https://www.nytimes.com/2012/06/17/technology/acxiom-the-quict-giant-of-consumer-

database-
marketing. htm l#e~text=It's%20called%20the%20A cxiom%20Corporation. to%20know%20much%

20% 20much*20more.

9 Letter from Sen. J. Rockefeller [V, Sen. Cmtee. On Commerce, Science, and
Transportation, to S. Howe, Chief Executive Officer, Acxiom (Oct. 9, 2012) available at
https://Awww.commerce.senate, gov/services/files/3bb94703-5ac8-4 157-a97b-%20a65803¢306!c.

10 See Bipartisan Group of Lawmakers Query Data Brokers About Practices Involving
Consumers’ Personal Information, Website of Sen. Markey (July 24, 2012),
available at httos://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-
query-data-brokers-about-practices-involving-consumers-personal-information,

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47. Data aggregation is especially troublesome when consumer information
is sold to direct-mail advertisers. In addition to causing waste and inconvenience,
direct-mail advertisers often use consumer information to lure unsuspecting
consumers into various scams, including fraudulent sweepstakes, charities, and
buying clubs. Thus, when companies like Onnit share information with data
aggregators, data cooperatives, and direct-mail advertisers, they contribute to the
“Ivjast databases” of consumer data that are often “sold to thieves by large publicly
traded companies,” which “put[s] almost anyone within the reach of fraudulent
telemarketers” and other criminals."

48. Disclosures like Defendant’s are particularly dangerous to the elderly.
“Older Americans are perfect telemarketing customers, analysts say, because they are
often at home, rely on delivery services, and are lonely for the companionship that
telephone callers provide.”!?

49. The FTC notes that “[t]he elderly often are the deliberate targets of
fraudulent telemarketers who take advantage of the fact that many older people have

cash reserves or other assets to spend on seemingly attractive offers.”!°

'| See Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y. Times (May 20, 2007),
available at hitps:/Avww.nvtimes.com/2007/05/20/business/20tele, html.

12 Id,

13 Prepared Statement of the FTC on “Fraud Against Seniors” before the Special Committee on
Aging, United States Senate (August 10, 2000),

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50. Indeed, an entire black market exists while the personal information of
vulnerable elderly Americans is exchanged. Thus, information disclosures like
Defendant’s are particularly troublesome because of their cascading nature: “Once
marked as receptive to [a specific] type of spam, a consumer is often bombarded with
similar fraudulent offers from a host of scam artists.”"

51. Defendant is not alone in violating its customers’ statutory rights and
jeopardizing their well-being in exchange for increased revenue: disclosing customer
and subscriber information to data aggregators, data appenders, data cooperatives,
direct marketers, and other third parties has become a widespread practice.
Unfortunately for consumers, however, this growth has come at the expense of their
most basic privacy rights.

Il, Consumers Place Monetary Value on Their Privacy and Consider
Privacy Practices When Making Purchases

52. As the data aggregation industry has grown, so has consumer concerns
regarding personal information.

53. A survey conducted by Harris Interactive on behalf of TRUSTe, Inc.
showed that 89 percent of consumers polled avoid doing business with companies

who they believe do protect their privacy online.'° As a result, 81 percent of

14 Id.

‘5 See 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe,
http:/Avww.theagitator.net/wp-content/uploads/0127 14 _ConsumerConfidenceReport_US I pdf.

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smartphone users polled said that they avoid using smartphone apps that they don’t
believe protect their privacy online.'®

54. Thus, as consumer privacy concerns grow, consumers increasingly
incorporate privacy concerns and values into their purchasing decisions, and
companies viewed as having weaker privacy protections are forced to offer greater
value elsewhere (through better quality and/or lower prices) than their privacy~
protective competitors. In fact, consumers’ personal information has become such
a valuable commodity that companies are beginning to offer individuals the
opportunity to sell their personal information themselves,"”

55. These companies’ business models capitalize on a fundamental tenet
underlying the personal information marketplace: consumers recognize the
economic value of their private data. Research shows that consumers are willing to

pay a premium to purchase services from companies that adhere to more stringent

policies of protecting their personal data.'*

16 Id.

17 See Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal Data,
N.Y. Times (Feb. [2, 2012), available at https:/Avww.nytimes.com/2012/02/13/echnology/start-
ups-aim-to-help-users-put-a-price-on-their-personal-data.htm|.

18 See Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information on Purchasing
Behavior, 22(2) Information Systems Research 254, 254 (2011); see also European Network and
Information Security Agency, Study on Monetizing Privacy (Feb. 27, 2012), available at
https://www.enisa,europa.cu/publications/monetising-privacy.

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56. Thus, in today’s digital economy, individuals and businesses alike
place a real, quantifiable value on consumer data and corresponding privacy rights. 19
As such, where a business offers customers a product or service that includes
statutorily guaranteed privacy protections, yet fails to honor these guarantees, the
customer receives a product or service of less value than the product or service paid
for.

If]. Defendant Uses the Meta Pixel to Systematically Disclose its
Customers’ Private Viewing Information to Meta

57. As alleged below, whenever a person with a Meta account purchases
prerecorded video material from Defendant on its Website, the Meta Pixel
technology that Defendant intentionally installed on its Website transmits the
customer’s personally identifying information and detailed Private Viewing
Information (revealing the specific titles of the prerecorded video material that he or
she purchased) to Meta — all without the customer’s consent, and in clear violation
of the VPPA.

A, The Meta Pixel
58. On February 4, 2004, Mark Zuckerberg and others launched Facebook,

now known as “Meta”.2° Meta is now the world’s largest social media platform. To

19 See Hann, et al., The Value of Online Information Privacy: An Empirical Investigation
(Oct, 2003) at 2, available at https://www.comp.nus.edu.se/~ipng/research/privacy.pdf.

20 See Facebook, “Company Info,” available at https://about.fb.com/company-info./,

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create a Meta account, a person must provide, infer alia, his or her first and last name,
birth date, gender, and phone number or email address.

59. The Meta Pixel, first introduced in 2013 as the “Facebook Pixel,” is a
unique string of code that companies can embed on their websites to monitor and
track the actions taken by visitors to their websites and to report them back to Meta.
This allows companies like Defendant to build detailed profiles about their
customers and to serve them with highly targeted advertising.

60. Additionally, a Meta Pixel installed on a company’s website allows
Meta to “match [] website visitors to their respective Facebook User accounts.””’
This is because Meta has assigned to each of its users an “FID” number — a unique
and persistent identifier that allows anyone to look up the user’s unique Meta profile
and thus identify the user by name” — and because each transmission of information
made from a company’s website to Meta via the Meta Pixel is accompanied by, inter
alia, the FID of the website’s visitor. As such, the FIDs assigned to Meta users are
personally identifying within the meaning of the VPPA. See 18 U.S.C. § 2710(b)(1).

61. Moreover, the Meta Pixel can follow a consumer to different websites

and across the Internet even after the consumer’s browser history has been cleared,

21 Meta, “Get Started — Meta Pixel,” available at https://developers.facebook.com/docs/meta-
pixel/get-started/.

22 For example, Mark Zuckerberg’s FID is reportedly the number “4,” so logging into Facebook and
typing www.facebook.com/4 in the web browser retrieves Mark Zuckerberg’s Facebook page:
www.facebook.com/zuck, and all of the additional personally identifiable information contained
therein.

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62. Meta has used the Meta Pixel to amass a vast digital database of dossiers
comprised of highly detailed personally identifying information about each of its
billions of users worldwide, including information about al] of its users’ interactions
with any of the millions of websites across the Internet on which the Meta Pixel is
installed. Meta then monetizes this Orwellian database by selling advertisers the
ability to serve highly targeted advertisements to the persons whose personal
information is contained within it.

63. Simply put, if a company chooses to install the Meta Pixel on its
website, both the company who installed it and Meta (the recipient of the
information it transmits) are then able to “track [] the people and type of actions they
take,”*> including, as relevant here, the specific prerecorded video material that they
purchase on the website.

B. Defendant Knowingly Uses the Meta Pixel to Transmit the
Private Viewing Information of its Customers to Meta

64. Defendant sells prerecorded video materials to consumers on_ its

Website, www.onnit.ccom. These video materials include “Digital & Online

Streaming Products” such as “On-Demand Workouts,” as pictured in the following

screenshot:*4

23 Meta, “Retargeting: How to Advertise to Existing Customers with Ads on Facebook,” available at
https://www.facebook.com/business/goals/retargeting ?checkpoint_src=any.

244 Onnit, “Best Workout & Fitness Streaming Products, DVDs,” available at
https://Awww.onnit.com/digital,

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fears a

COANE SURPLEMEMTS © WUTHIITOM FIHESS = GBPG WEL PALEAMORE © COMMUNITY CONTENT STORES

DIGITAL & ONLINE STREAMING PRODUCTS

PRIMES

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STARTER GUIDES,

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65. Defendant also sells prerecorded instructional videos on “Home Fitness

Programs,” such as “Onnit 6 Steel Mace,” as pictured in the screenshot below:”*

25 Onnit, “Onnit 6 Steel Mace,” available at https:/Avww.onnit.com/six-steel-mace,
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66. To make a purchase of prerecorded video material from Defendant’s
Website, a person must provide at least his or her name, email address, billing
address, and credit or debit card (or other form of payment) information.

67. | Whenever a person with a Meta account purchases prerecorded video
material from Defendant on its Website, Defendant uses — and has used at all times
relevant hereto — the Meta Pixel to disclose to Meta the unencrypted FID of the person
who made the purchase and the specific title of video material that the person
purchased, as well as the URL where such video material is available for purchase.

68. In this way, among other methods, Defendant knowingly discloses to
Meta the Private Viewing Information of its consumers, Specifically, when

consumers add videos to their virtual “cart” on Defendant’s Website and proceed

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through the checkout flow, the Website executes a GET request to Facebook’s
tracking URL “https://www.facebook.com/tr? and sends it various querystring
parameters and cookie values which disclose the name of the videos watched and
purchased by the consumer and the consumer’s FID,

69. Defendant intentionally programmed its Website to include the Meta
Pixel code in order to take advantage of the targeted advertising and other
informational and analytical services offered by Meta. The Meta Pixel code
systematically transmits to Meta the FID of each person with a Meta account who
purchases prerecorded video material on its Website, along with the specific title of

the prerecorded video material that the person purchased.

70. With only a person’s FID and the title of the prerecorded video material
(or URL where such material is available for purchase) that the person purchased
from Defendant on its Website—all of which Defendant knowingly provides to Meta
on a systematic basis—-any ordinary person could learn the identity of the person to
whom the FID corresponds and the title of the specific prerecorded video materia!
that the person purchased (and thus requested and obtained). This can be
accomplished simply by accessing the URL www.facebook.com/[insert the person's
FID here|/.

71. Defendant’s practices of disclosing the Private Viewing Information of
its customers to Meta continued unabated for the duration of the two-year period

preceding the filing of this action. At all times relevant hereto, whenever one of the
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Plaintiffs or any other person purchased prerecorded video material from Defendant
on its Website, Defendant disclosed to Meta (inter alia) the specific title of the video
material that was purchased (including the URL where such material is available for
purchase), along with the FID of the person who purchased it (which, as discussed
above, uniquely identified the person).

72, At all times relevant hereto, Defendant knew that the Meta Pixel was
disclosing its customers’ Private Viewing Information to Meta.

73. Although Defendant could easily have programmed its Website so that
none of its customers’ Private Viewing Information is disclosed to Meta, Defendant
instead chose to program its Website so that all of its customers’ Private Viewing
Information is disclosed to Meta.

74. Before transmitting its customers’ Private Viewing Information to Meta,
Defendant failed to notify any of them that it would do so, and none of them have ever
consented (in writing or otherwise) to these practices,

75. By intentionally disclosing to Meta each of the Plaintiffs’ and its other
customers’ FIDs together with the specific video material that they each purchased,
without any of their consent to these practices, Defendant knowingly violated the
VPPA on an enormous scale.

CLASS ACTION ALLEGATIONS
76. Plaintiffs seek to represent a class defined as all persons in the United

States who, during the two years preceding the filing of this action, purchased

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prerecorded video material from Defendant’s www.onnit.com Website while

maintaining an account with Meta Platforms, Inc. f/k/a Facebook, Inc.

77. Class members are so numerous that their individual joinder herein is
impracticable. On information and belief, members of the Class number in at least
the tens of thousands. The precise number of Class members and their identities are
unknown to Plaintiffs at this time but may be determined through discovery. Class
members may be notified of the pendency of this action by mail and/or publication
through the membership records of Defendant.

78. Common questions of law and fact exist for all Class members and
predominate over questions affecting only individual class members, Common legal
and factual questions include but are not limited to (a) whether the Defendant
embedded Meta Pixel on its Website that monitors and tracks actions taken by visitors
to its Website; (b) whether the Defendant reports the actions and information of
visitors to Meta; (c) whether Defendant knowingly disclosed Plaintiffs’ and Class
members’ Private Viewing Information to Meta; (d) whether Defendant’s conduct
violates the Video Privacy Protection Act, 18 U.S.C. § 2710; and (e) whether each of
the Plaintiffs and Class members is entitled to a statutory damage award of $2,500, as

provided by the VPPA.

79. The named Plaintiffs’ claims are typical of the claims of the Class in
that the Defendants’ conduct toward the putative class is the same. That is, the

Defendant embedded Meta Pixel on its Website to monitor and track actions taken by
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class members to its Website and report this to Meta. Further, the named Plaintiffs
and the Class members suffered invasions of their statutorily protected right to
privacy (as afforded by the VPPA), as well as intrusions upon their private affairs and
concerns that would be highly offensive to a reasonable person, as a result of
Defendant’s uniform and wrongful conduct in intentionally disclosing their
Privachase Information to Meta.

80. Plaintiffs are adequate representatives of the Class because they are
interested in the litigation; their interests do not conflict with those of the Class
members they seek to represent; they have retained competent counsel experienced in
prosecuting class actions and intend to prosecute this action vigorously. Plaintiffs
and their counsel will fairly and adequately protect the interests of all Class members.

81. The class mechanism is superior to other available means for the fair
and efficient adjudication of Class members’ claims. Each individual Class member
may lack the resources to undergo the burden and expense of individual prosecution
of the complex and extensive litigation necessary to establish Defendant’s liability.
Individualized litigation increases the delay and expense to all parties and multiplies
the burden on the judicial system presented by this case’s complex legal and factual
issues. Individualized litigation also presents a potential for inconsistent or
contradictory judgments. In contrast, the class action device presents far fewer
management difficulties and provides the benefits of single adjudication of the

common questions of law and fact, economy of scale, and comprehensive supervision

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by a single court on the issue of Defendant’s liability. Class treatment of the liability
issues wil! ensure that all claims and claimants are before this Court for consistent
adjudication of the liability issues.

CAUSE OF ACTION
Violation of the Video Privacy Protection Act, 18 U.S.C. § 2710

82. Plaintiffs repeat the allegations asserted in the preceding paragraphs as
if fully set forth herein.

83. | The VPPA prohibits a “video tape service provider” from knowingly
disclosing “personally identifying information” concerning any “consumer” to a third
party without the “informed, written consent (including through an electronic means
using the Internet) of the consumer.” 18 U.S.C. § 2710.

84. As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider”
is “any person, engaged in the business, in or affecting interstate or foreign commerce,
of rental, sale, or delivery of prerecorded video cassette tapes or similar audiovisual
materials[.]” Defendant is a “video tape service provider” as defined in 18 U.S.C. §
2710(a)(4) because it is engaged in the business of selling and delivering prerecorded
video materials, similar to prerecorded video cassette tapes, to consumers nationwide.

85, As defined in 18 U.S.C. § 2710(a)(1), a “‘consumer’ means any renter,
purchaser, or consumer of goods or services from a video tape service provider.” As

alleged above, Plaintiffs and Class members are each a “consumer” withing the

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meaning of the VPPA because they each purchased prerecorded video material from
Defendant’s Website that was sold and delivered to them by Defendant.

86. As defined in 18 U.S.C. § 2710(a)(3), “‘personally identifiable
information’ includes information which identifies a person as having requested or
obtained specific video materials or services from a video tape service provider.” The
Private Viewing Information that Defendant transmitted to Meta constitutes
“personally identifiable information” as defined in 18 U.S.C. § 2710(a}(3) because it
identified each of the Plaintiffs and Class members to Meta as an individual who
purchased, and thus “requested or obtained,” specific prerecorded video material from
Defendant via its Website.

87. Defendant knowingly disclosed Plaintiffs’ and Class members’ Private
Viewing Information to Meta via the Meta Pixel technology because Defendant
intentionally installed and programmed the Meta Pixel code on its Website, knowing
that such code would transmit to Meta the titles of the video materials purchased by
its customers coupled with its customers’ unique identifiers (including FIDs).

88, Defendant failed to obtain informed written consent from any of the
Plaintiffs or Class members authorizing it to disclose their Private Viewing
Information to Meta or any other third party. More specifically, at no time prior to or
during the applicable statutory period did Defendant obtain from any person who
purchased prerecorded video material on its Website (including any of the Plaintiffs

or Class members) informed, written consent that was given in a form distinct and
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separate from any form setting forth other legal or financial obligations of the
consumer, that was given at the time the disclosure is sought or was given in advance
for a set period of time, not to exceed two years or until consent is withdrawn by the
consumer, whichever is sooner, or that was given after Defendant provided an
opportunity, in a clear and conspicuous manner, for the consumer to withdraw consent
on a case-by-case basis or to withdraw consent from ongoing disclosures, at the
consumer’s election, See 18 U.S.C. § 2710(b)(2).

89. By disclosing Plaintiffs’ and Class members’ Private Viewing
Information, Defendant violated their statutorily protected right to privacy in their
Private Viewing Information.

90. Consequently, Defendant is liable to each of the Plaintiffs and Class
members for damages in the statutorily set sum of $2,500. 18 U.S.C. § 2710(c)(2)(A).

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, individually and on behalf of all others similarly
situated, seek a judgment against Defendant Onnit Labs, Inc. as follows:
a) For an order certifying the Class under Rule 23 of the Federal Rules of
Civil Procedure and naming Plaintiffs as representatives of the Class
and Plaintiffs’ attorneys as Class Counsel to represent the Class;
b) For an order declaring that Defendant’s conduct as described herein

violated the VPPA;

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c) For an order finding in favor of Plaintiffs and the Class and against

Defendant on all counts asserted herein;

d) For an award of $2,500.00 to each of the Plaintiffs and each Class

member, as provided by 18 U.S.C. § 2710(c);

e) For an order permanently enjoining Defendant from disclosing the

Private Viewing Information of its subscribers to third parties in

violation of the VPPA;

f) For prejudgment interest on all amounts awarded; and

g) For an order awarding punitive damages, reasonable attorneys’ fees,

and costs to counsel for Plaintiff and the Class under Rule 23 and 18

ULS.C. § 2710(c).

Dated: October 23, 2024

Respectfully submitted,

HEDIN LLP

/s/ Tyler K. Somes

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Tyler K. Somes

District of Columbia Bar No. 90013925
HEDIN LLP

1100 15th Street NW, Ste 04-108
Washington, D.C. 20005

Telephone: (202) 900-3332
Facsimile: (305) 200-8801
isomes@hedinllp.com

Frank S. Hedin

Florida Bar No. 109698
Elliot O. Jackson
Florida Bar No. 1034536
HEDIN LLP

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1395 Brickell Ave., Suite 610
Miami, Florida 33131-3302
Telephone: (305) 357-2107
Facsimile: (305) 200-8801
thedin@hedin|lp.com
ejackson(@hedinIlp.com

AND

Matthew J. Langley

Florida Bar No. 97331
ALMEIDA LAW GROUP LLC
849 W. Webster Avenue
Chicago, Hlinois 60614
Telephone: (312) 576-3024
matt(Malmeidalawgroup.com

Counsel for Plaintiffs and Putative
Class

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CERTIFICATE OF SERVICE
I hereby certify that on October 23, 2024, I filed the foregoing with the

Clerk of Court and will provide electronic notification of such filing to all
parties of record via email served on Defendant’s retained counsel.

/s/ Tyler K. Somes

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